Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 1of 21

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH P. MCGUIGAN,
Plaintiff

No.

Vv.

UNITED STATES SECRETARY OF HOUSING
AND URBAN DEVELOPMENT,
Defendant

COMPLAINT

1. Plaintiff, Joseph P. McGuigan, is an adult individual with an address of
9802 Montour Street, Philadelphia, PA 19115.

2. Defendant, United States Secretary of Housing and Urban Development, has an
address of 100 East Penn Square, Philadelphia, PA 19107.

3. On March 20, 1995, Defendant was conveyed the premises known as 5916 Jackson
Street, Philadelphia, PA (the “Premises”). A copy of the recorded deed of conveyance to
Defendant is attached hereto as Exhibit “A”, and the provisions of same are hereby incorporated
by reference as if fully set forth.

4. Subsequently, on October 19, 1995, the Premises was conveyed from Defendant to
Plaintiff.

5. However, for reasons unknown, the deed of conveyance of the Premises from

Defendant to Plaintiff was lost and never recorded.
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6. A copy ofa policy of title insurance issued to Plaintiff's then-lender on October 19,
1995, evidencing the contemplated transfer of the Premises to Plaintiff as of that date, is
attached hereto as Exhibit “B”, and the provisions of same are hereby incorporated by reference
as if fully set forth.

7. Defendant has solely and consistently paid real estate taxes on the Premises since
October 19, 1995.

8. Defendant has solely and consistently kept the Premises covered by insurance since
October 19, 1995.

9. From October 19, 1995 and until the residential improvements on the Premises were
destroyed in a fire in 2023, Plaintiff had resided at and maintained the Premises, and has had full
use and enjoyment of the Premises.

10. At all times relevant since October 19, 1995, Defendant has taken no action(s)
concerning the Premises, and has not occupied same.

11. It is believed and therefore averred that Defendant presently has no interest in the
Premises, and/or in the use and/or maintenance thereof.

12. It is further believed and therefore further averred that Defendant has not indicated
nor manifested any desire to hold any interest(s) in and/or to the Premises.

13. However, despite all of the foregoing and despite demand made, Defendant has
failed and/or refused to relinquish record title of the Premises to Plaintiff.

14. This Honorable Court has jurisdiction over the instant case pursuant to 28 U.S.C.
sections 1331 and 2409a, and pursuant to the pendent jurisdiction provided this Honorable Court
pursuant to 28 U.S.C. section 1367.

COUNT I—QUIET TITLE PURSUANT TO 28 U.S.C. SECTION 2409a

15. Plaintiff hereby incorporates by reference the provisions of paragraphs 1 through
Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 3 of 21

14 above, as if the same were more fully set forth.

16. Quiet title actions against the United States of America or its departments or
divisions are governed by the provisions of 28 U.S.C. section 2409a.

17. Accordingly, for all of the above reasons, title to the Premises should be quieted
in Plaintiff solely, and any right, title, and/or interest of Defendant to the Premises should be
cancelled/divested, as of October 19, 1995 and continuing, pursuant to 28 U.S.C. section 2409a.

WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter an Order: (a)
providing that any right, title, and/or interest that Defendant has or may have in/to the Premises,
is divested and is null and void, effective October 19, 1995 and continuing; (b) confirming that
Plaintiffholds sole fee simple title to the Premises, effective October 19, 1995 and continuing;
(c) providing that Defendant may not assert any claim in/to the Premises inconsistent with
Plaintiff's sole fee simple title thereto; (d) providing that a certified copy of such Order be
recorded with the Philadelphia Department of Records and indexed in/with the land records
concerning the Premises, without the payment of any state or local real estate transfer taxes; and
(e) providing such other and further relief as the Court deems fair and just.

COUNT IJ-ADVERSE POSSESSION
(in the alternative to Count I)

18. Plaintiff hereby incorporates by reference the provisions of paragraphs 1 through

17 above, as if the same were more fully set forth.

19. Despite the passage of more than twenty-one (21) years from October 19, 1995, neither
Defendant nor anyone on Defendant’s behalf has/have made any claim, direct or indirect, in
and/or to the Premises.

20. Further, for more than twenty-one (21) years since October 19, 1995, Plaintiff has had

actual, continuous, exclusive, visible, notorious, distinct, and hostile possession of the Premises.
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21. Accordingly, for all of the above reasons, Plaintiff is entitled to sole ownership of the
Premises via adverse possession of same.

WHEREFORE, in the alternative to Count I above, Plaintiff respectfully requests this
Honorable Court to enter an Order: (a) providing that any right, title, and/or interest that
Defendant has or may have in/to the Premises, is divested and is null and void, effective October
19, 1995 and continuing; (b) confirming that Plaintiff holds sole fee simple title to the Premises,
effective October 19, 1995 and continuing; (c) providing that Defendant may not assert any
claim in/to the Premises inconsistent with Plaintiffs sole fee simple title thereto; (d) providing
that a certified copy of such Order be recorded with the Philadelphia Department of Records and
indexed in/with the land records concerning the Premises, without the payment of any state or
local real estate transfer taxes; and (e) providing such other and further relief as the Court deems

fair and just.

Respectfully submitted,

__/s/ Brian H. Smith

BRIAN H. SMITH, ESQUIRE
ID #65627

Fidelity National Law Group
1515 Market Street, Suite 1410
Philadelphia, PA 19102

(267) 608-1732

Fax: (215) 241-8794
Brian.H.Smith@fnf.com
Counsel for Plaintiff

| BAYER, &

SSS SSS 2.5

No. 7&8 CORPORATION DEED, 0 Q Zriftca ify apa Bora by John C. Clark Co, 1326 Walnut St., Phile

Wa Bo
This Indenture Made the 20th

day of MARCH _ in the year of our Lord one thousand nine

Between COMMONWEALTH FEDERAL

hundred and ‘ NINETY-FIVE
SAVINGS ASSOCIATION

CO
(hereinafter calfed the Grantor ), of the one part, and

SECRETARY OF HOUSING AND URBAN DEVELOPMENT, a Federal Agency

(hereinafter called the Grantee ), of the other part.

Mittneaarth, That the ssid Grantor

for and in consideration of the sum of

ONE DOLLAR ($1.00) and other good and valuable consideration lawfui
money of the United States of America, unto it well and truly paid by the said Grantee
at or before the sealing and delivery, hereof, the receipt whereof is hereby acknowledged, has
granted, bargained and sold, aliened,-enfeoffed, released and confirmed, and by these presents dogs
grant, bargain and sell, alien, enfeoff, release and confirm unto the said Grantee , 1tS Successors

and assigns,

ALL THAT CERTAIN lot or piece. of ground with the brick messuage or tenement thereo
erected, described according to a- Survey and Plan thereof made by J.H. Webster, Jr
Esquire, Surveyor and Regulator of the 10th Survey’ District, on the 5th day of Jul.
A.D.,.1911, as follows, to wit: SITUATE on the Northwesterly side of Jackson Stre
at the distance of one hundred fifty-five feet ten inches (155'10") Southwestward]
_ fron the Southwesterly side of Comly Street in Wissinoming in the forty-first Ward
formerly the fifty-fifth Ward, of the City of Philadelphia aforesaid. CONTAINING
front or breadth on said Jackson Street twenty-two feet, two inches (22'2") and ex
tending in that width in length or depth Northwestwardly between perallel lines at
‘right angles ‘to said Jackson Street (the Northeasternmost line thereof passing thr
the center of the party wall between these premises and premises now or late of
William A. Bender etux, adjoining on the Northeast) two hundred feet (200').

BEING ‘NO. 5916 Jackson Street.

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KING the same premises which John D. Green, Sheriff of Phitadeiplta

County by Deed Poll dated 2/27/95 and recorded 4/4/95 in the Office for th:
Recoftding of Deeds in Book No. VCS 836 page 326 conveyed to
Commonwealth Federal Savings Association.

‘IN THE PRESENCE OF US:

Cugether with all and singular the buildings

Improvements, Ways, Streets, Alleys, Passages, Waters, Water-courses, Rights, Liberties, Privilege
Hereditaments and Appurtenances, whatsoever thereunto belonging, or in any Wise appertaining, an
the Reversions and Remainders, Rents, Issues and Profits thereof; and all the Estate, Right, Titt
Interest, Property, Claim and Demand whatsoever of the said Grantor, as well

in law as in equity, or otherwise howsoever, of, in, and to the same and every part thereof,

Cu haue and to halt the said lot or piece of ground described

with the messuage or tenement thereon erected.
Hereditaments and Premises hereby granted, or mentioned and intended so to be, with the Appurt:

nances, unto the ssid Grantee, its Successors

and Assigns, to and for the only proper use and behoof of the said Grantor, its Successo:
and Assigns, forever.

Ant the ssid Grantor, for its Successors and Assigns

does b
these presents, covenant, grant and agree, to and with the said Grantee , its Successors

and Assigns, that i+ the said Grantee, its Successors and Assigns

all and singular the

Hereditaments and Premises herein above described and granted, or mentioned and intended so to be
with the Appurtenances, unto the seid Grantee, its Successors

and Assign:

against the said Grantor, its Successors and Assigngg against all and ever

Person or Persons whomscever lawfully claiming or to claim the same or any part thereof, by, fron
orunder it, them .

or any of them,
shall and: will

WARRANT and forever DEFEND

dst Witness Mherenf the said Corporation has caused its corporate seal to be
‘hereunto affixed this 20th day of March » 1995

. ' RESOLUTION TRUST CORPORATION AS RECETV.
Sealed and Delivered . COMMONWEALTH FEDERAL SAVINGS ASSOCIATI

Ail A Bath

Paul A. Bote “WARCUS - » ATTORNEY-IN-FACY

ti kA Cyc ATTEST:

&,

Richard Minor Rifhanrd A. Hino
PHILADELPHIA REAL ESTATE
TRANSFER TAX CERTIFICATION

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‘omplete eacn section and file in duplicate with Recorder of Oeeds when (1) the fulf vaiue/consideration Is not set fonh In the

eed; (2) when the ceed is without consideration, of by gilt, of (3) a tax exemption is claimed,

zcitlonal sheet(s).

if more space is needed, attach

CORRESPONDENT - All Inquiries may be directed to the following person:

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FRANK FEDERMAN, ESQ.

TELEPROng wuaaa:

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Two Penn Center Plaza Philadelphia PA 19102

__ TRANSFER DATA

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COMMONWEALTH FEDERAL SAVINGS ASSOCIATION

GAANT EUS VL ESSERE)

DATE GF ACEUPTANCE OF DOCUMENT

) SECRETARY OF HOUSING AND

URBAN DEVELOPMENT

STACET AOOAGSS

The Wanamaker Bldg., .100 Penn Sq. Ea

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~ 13111 Northwest Freeway

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Philadelphia Philadelphia 16514~206
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2. Check Appropriate Box Below for.Exemptlon Clalmed = =

Will or intestate succession
« : (NAME OF DECEDENT}

Transfer to Industrial Development Agency.

(OTATE FILE NUMBER),

Transfer to agent or straw party. (Attach copy of agency/siraw party agreement).

Transfer between principal and agent. (Attach copy of agency/straw trust agreement). Tax paid BuO deed $

Se ee

Transfers to the Commonwealth, the United States, and Instrumentalities by gift, dedicatien, condemnation oriniieuof
concemnation, {Attach copy of resolution).

Transfer trom mongagor to a holder of amongase in default, Morigage Bock Horibee
Morigagee (grantor) sold property to Morigagor (grantee) (Attach copy of prior deed),

Page Nuimber

O OF OOOO DA

Corrective deed (Attach copy of the prior deed).
Keke Other (Please explain exemption claimed, other thaniistedabove) -22nsfer to Secretary. of.

1.193°
(3). (v) of the Pennsylvania Reality Transfer Tax Regulations.
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On May 23, 1989, COMMONWEALTH SAVINGS ASSOCIATION, ("CSA")
Houston, Texas was placed in receivership, and the Federal. Savings and Loan
insurance Corporation {"FSLIC") was appointed Receives thereof, and by operation of

law, FSLIC succeeded to all rights, titles, powers and privileges of CSA; and

On May 25, 1989, pursuant to that certain Acquisition Agreement between
FSLIC, as Receiver for CSA, and Commonwealth Federal Savings Association
("CFSA"), Houston, Téxas, a Federal Mutual Savings Association, CFSA acquired from
FSLIC as Receiver for CSA, all of the receiver's rights, titles and interest in and to all

CSA‘s assets that Receiver owned or held.

On June 21, 1991, CFSA was placed In receivership, and the Resolution Trust
Corporation ("RTC") was appointed Receiver thereof, and by operation of law, RTC
succeeded to all rights, titles, powers and privileges of CFSA.

The undersigned RTC as Receiver of CFSA is the legal and equitable owner of
ALL THAT CERTAIN lot or Piece of ground described above,
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" STATE OF TEXAS
CRO SO EER

County of HARRIS

20th day of .March

Marcus H. Halsey

, 1995 | before me,
the undersigned officer.

personally appeared _ Marcus HK. Halsey who acknowledged himself (herself)
tobe the Attorney~in-Fact of Resolution Trust Corporation

a corporation, and that he as such Attorny-In-Fact , being authorized todo sv, executed
the foregoing instrument for the purposes therein contained by signing the name of the corporation bs
himself (herself) as AHovney-in-F O0+,

IN WITNESS WHEREOF, I have hereunto set my hand and official seal.

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Prior Policy Amount: $39,900.00
Prior Policy Date =: 02/05/82

Issued with Policy No. 211026911
POLICY OF TITLE INSURANCE
penne A

POLICY NO: 558033174
FILE NO: A051448PC

AMOUNT OF INSURANCE: $53,900.00
FILED RATE: $542.75 - Basic

DATE OF POLICY: The date shown below or the date of recording of the
instruments referred to in Item 4 whichever is the later. —

October 19, 1995
* oon OF INSURED:

Columbia National Inc. and/or The Secretary of Housing and Urban
Development, its successors and/or assigns as their interests may
appear

2. THE ESTATE OR INTEREST IN THE LAND DESCRIBED HEREIN AND WHICH IS
jf COVERED BY THIS POLICY IS:

Fee simple

3. THE ESTATE OR INTEREST REFERRED TO HEREIN IS AT DATE OF POLICY
ESTED IN:

Joseph McGuigan

4. ‘JHE MORTGAGE, HEREIN REFERRED TO AS THE INSURED MORTGAGE, AND THE
ASSIGNMENTS THEREOF, IF ANY, ARE DESCRIBED AS FOLLOWS :

V noxtgace of $53,900.00 from Joseph McGuigan to Columbia National
Inc. and/or The Secretary of Housing and Urban Development, its
successors and/or assigns as their interests May appear dated
October 19, 1895

5. THE LAND REFERRED TO IN THIS POLICY IS DESCRIBED AS SET FORTH IN THE
INSURED MORTGAGE AND IS IDENTIFIED AS FOLLOWS:

5916 Jackson St.
Philadelphia County Pennsylvania

PA 20 ALTA Loan Policy - 1970
(Amended 10/17/1970 and 10/17/1984)

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Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 12 of 21

The following endorsement (s) are attached hereto: 300, 100, 8.1

PA 20 ALTA Loan Policy - 1970
(Amended 10/17/1970 and 10/17/1984)
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Policy No. 558033174
File No, A051448PC

EXHIBIT A

BLOCK 117 N 7 LOT 83

ALL THAT CERTAIN lot or piece of ground with the brick messuage or
tenement thereon erected, described according to a Survey and Plan
thereof made by J.H. Webster, Jr., Esquire, Surveyor and Regulator of
the 10th Survey District, on the 5th day of July A.D., 1911, as follows,

to wit:

SITUATE on the Northwesterly side of Jackson Street at the distance of
one hundred fifty-five feet, ten inches Southwestwardly from the
Southwesterly side of Comly Street in Wissinoming in the Forty-first
werd, formerly the fifty-fifth Ward, of the City of Philadelphia
aforesaid.

CONTAINING in front or breadth on said Jackson Street, twenty-two feet,
two inches and extending in that length or depth Northwestwardly between
parallel lines at right angles to said Jackson Street (the
Northeasternmost line thereof passing through the center of the party
wall between these premises and premises now or late of William A.
Bender, and wife adjoining on the Northeast) two hundred feet.

BEING NO. 5916 Jackson Street.

PA 20 ALTA Loan Policy - 1970
(Amended 10/17/1970 and 10/17/1984)
Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 14 of 21

Policy No. 558033174

File No. A0S1448pc
SCHEDULE B
Part 1

This policy does not insure against loss or damage by reason of the
following:

slice Unrecorded easements, discrepancies or conflicts in boundary
lines, shortages in area and encroachments which an accurate
and complete survey would disclose.

2. Restrictions as in Deed Book GGP 243 page 504, GGP 43 page 344
and GGP 241 page 87,

a 1996 10th Cycle Water and Sewer Rents not yet due and payable.

PA 20 ALTA Loan Policy - 1970
(Amended 10/17/1970 and 10/17/1984)
Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 15 of 21

INDUSTRIAL VALLEY TITLE INSURANCE COMPANY
A Reliance Group Company
1700 Market Street, Philadelphia, Pa. 19103-3990

ENDORSEMENT
Issued with Policy No. 558033174
POLICY NO. A051448PcC

The Company insures that the covenants, conditions and restrictions
affecting the title to the land contained in Deed Book GGP 243 page 504,
GGP 43 page 344 and GGP 241 page 87 have not been violated and that a
future violation thereof wili not cause a forfeiture or reversion of

title.

The total liability of the Company under said policy and any endorsement
thereon shall not exceed, in the aggregate, the face amount of said
policy and costs which the Company is obligated, under the conditions
and stipulations thereof, to pay.

This endorsement is made a part of said policy and is subject to the
schedule, conditions and stipulations therein, except as modified by the
provisions hereof.

Nothing herein contained shall be construed as extending or changing the
effective date of said Policy, unless otherwise expressly stated,

Dated: 10/19/95

/ sernos - PA ENDORSEMENT 100 (Restrictions no apparent existing
violation). LOAN POLICY ONLY
Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 16 of 21

INDUSTRIAL VALLEY TITLE INSURANCE COMPANY
A Reliance Group Company
1700 Market Street, Philadelphia, Pa. 19103-3990

ENDORSEMENT
Issued with Policy No. 558033174

POLICY NO. A051448PC

The Company eliminates from its loan policy the exception reading as
follows:

Unrecorded easements, discrepancies or conflicts in boundary lines or
shortages in area and encroachments which an accurate and complete
survey would disclose.

and further insures, except as set forth above, against loss by reason
of encroachment, other than by party walls, whether by the building on
the land encroaching upon adjacent property or by any building on
adjacent property encroaching upon the said land.

The total liability of the Company under said policy and any endorsement
thereon shall not exceed, in the aggregate, the face amount of said
policy and costs which the Company is obligated, under the conditions
and stipulations thereof, to pay.

This endorsement is made a part of said policy and is subject to the
schedule, conditions and stipulations therein, except as modified by the
provisions hereof.

Nothing herein contained shall be construed as extending or changing the
effective date of said Policy, unless otherwise expressly stated.

Dated: 10/19/95

rzed Signatory

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TRIBOP ~- PA ENDORSEMENT 300 (Mortgage Survey Exception) .
LOAN POLICY ONLY
Case 2:23-cv-04258-KBH Document1 Filed 11/02/23 Page 17 of 21

INDUSTRIAL VALLEY TITLE INSURANCE COMPANY
A Reliance Group Company
1700 Market Street, Philadelphia, Pa. 19103-3990

ENDORSEMENT
Issued with Policy No. 558033174

Policy No. A051448PC

The insurance afforded by this endorsement is only effective if the
land is used or is to be used primarily for residential purposes,

The Company insures the insured against loss or damage sustained by
reason of lack of priority of the lien of the insured mortgage over:

a) any environmental protection lien which, at Date of
Policy, is recorded in those records established under
the state statutes at Date of Policy for the purpose of
imparting constructive notice of matters relating to
real property to purchasers for value and without
knowledge, or filed in the records of the clerk of the
United States District Court for the district in which
the land is located, except as set forth in Schedule B;
aE

b) any environmental protection lien provided for by
any state statute in effect at Date of Policy,
except environmental protection liens provided for
by the following state statutes:

The Land and Water Conservation and Reclamation Act, Act of
January 19, 1968, P.L. 996 (32 P.S. ss S101, et seq.)

This endorsement is made a part of the policy and is subject to all
of the terms and provisions thereof and of any prior endorsements
thereto. Except to the extent expressly stated, it neither modifies
any of the terms and provisions of the policy and any prior
endorsements, nor does it extend the effective date of the policy and
any prior endorsements, nor does it increase the face amount thereof.

Dated: 10/19/95

/

TIRBOP - PA ENDORSEMENT 900 (AL NDORSEMENT 8.1)
{Environmental Protection Lien) RESIDENTIAL LOAN POLICY ONLY

Case 2:23-cv-04258-KBHcoRmIUronst AN beh t/AF1BRs Page 18 of 21

5. PROOF OF LOSS OR DAMAGE.

In addition to and after the notices required under Section 3 of these Conditions und Stipulations
have been provided the Company, a proof of loss or damage signed and swom lo by the insured
claimant shal! be furnished to the Company within 90 days after the insured claimant shall ascertain
the facts giving rise to the loss or damage. The proof of loss or damage shall describe the defect in, or
Hien or encumbrance on the tile, or other matter insured against by this policy which constitutes the
basis of loss or damage and shall statc, to the extent possible, the ests of calculating the amount of
the loss or damage. If the Company is prejudiced by the failure of the insured claimant to provide the
required proof of loss or damage. the Company's obligations to the insured under the policy shall
terminate, including any liabitity or obligation to defend, pr or continue any litigation, with
regard (o the matler or matters requiring such proof of lass or damage.

In addition, the j d clei may bl required to submit to examination under oath
by any authorized representative of the Company und shall produce for examination. inspection and
copying, al such reasonable times and places as may be designated by any authorized representative of
the Company, all records, books, ledgers, checks. cotrespundence and memoranda, wheiher beanng a
date before of after Date of Policy. which reasonably pertain 1 she loss or damage, Further, if
requested by any authorized representauive of the Company, the insured claimant shall grant its
permission, tn writing, for any authorized representative of (he Company to exantine, inspect and copy
all records, boaks, ees. checks, correspondence and memoranda tn the custody ar control of y third
fariy. which reasonably pertain to the loss o¢ damage. All information designated as cunfidential by
the insured claimant provided to the Company pursuant to this Section shall not be disclosed (o olhers
unless, in the reasonable judgment of the Company. it is necessary in the administration of the clay.
Failure of the insured clainiat to submin for examination under oath, produce other reasonably
requested information or grant permission to secure reasonably necessary information from third
parties as required in this paragraph shall terminate any liability of the Company under this policy as
to that claim,

6. OPTIONS TO PAY OR OTHERWISE SETTLE CLAIMS;
TERMINATION OF LIABILITY.

In case of a claim under this policy, the Company shall have the following options:
(a) To Pay or Tender Payment of the Amount of Insurance or to Purchase the Indebteddess,
ti) lu pay or tender paymenl of the amount of insurance under this policy together with any cxvsts,
attorneys’ feos and expenses incurred by the insured claimant, which were authorized by the Company,
up lo the time of payment or tender of payment and which the Company is obligated 10 pay: or

(ii} ta purchase the indebtedness secured by the insured mortgage for the amount owing thereon
together with any costs, atiorneys' fees and cxpenses incurred by the insured claimant which were
authorized by the Company up to the time of purchase and which the Company is obligated to pay.

if the Company offers to purchase the indebiedness as hertin provided, the owner of the
indebtedness shall transfer. sane, and convey the indebtedness and the insured morigage, together
with any collateral security, lo the Company upon payment therefor,

Upen the exercise by the Company of cither of the options provided for in paragraphs a(i} ur (ii), all
liability and obligations to the insured under this policy, other than to make the payment required in
those paragraphs. shall terminate, including any liability or obligation to defend, prosecuie. or
continue any litigation. and the policy shall be surrendered (o the Company for cancellation.

(b} Ta Pay of Otherwise Settle With Parties Other than the Insured of With the Insured Claimant.

(i) ta pay or otherwise seule with other parties for or in the name of an insured claimant any
claim insured against under this policy together with any costs, allorneys’ fecs and eapenses incurred
by the insured claimant which were authonzed by the Company up Io the time of payment and which
the Company is obligated ta pay: or

fii) 10 pay ar otherwise seule with the insured claimant the loss or damage provided for under this
policy, together with any costs, attorneys’ fecs and expenses incurred by (he insured claimant which
wert authorized by the Company up to he time of payment and which the Company is obligated to

Pay. . ' ss

Upon the exercise by the Company of cither of the options provided for in paragraphs bi} or (ii),
the Company's obligations to the insured under this poliey for the claimed logs oy damage, other than
the payments required to he made. shell terminate, including any liability or obligation to defend,
pr or any filigali

7, DETERMINATION AND EXTENT OF LIAGILITY.

This policy is a contract of indemnity against actual monetary loss or damage sustained or incurred
by the insured claimant who has suffered joss or damage hy reason of matiers insured against by this
policy and only to the extent herein described.

fa) The liability of the Company under this policy shall nou enceed the least of

(i) the Amount of Insurance stated in Schedule A, or, if applicable, the amount of insurance a5
defined in Section 2 (c) of these Conditions and Stipulations:

(ii) the amount of the unpaid principal indebtedness secured by the insured morlgage as limited
or provided under Section & of these Conditions and Stipulations or as reduved under Section 9 of
these Conditions and Stipulations. al the time of less or damage insured wgainst by this policy occurs,
together with interest thercon: or

iii} the difference between the value of the insured estute ar interest as insured and the value of
the insured estate or interest subject to the defect, lien or encumbrance insured against by this policy.

{b) In the event the insured has acquired the csiate ar interest in the manner described in Section.
(a) of these Conditions and Stipulations or hes ere the litle, then the liability of the Company
shall continue as set forth in Section (a) of these Conditions and Stipulations.

(c) The Company will pay only thase costs, altorneys’ fees and expenses incurred in accordance with
Section 4 of these Conditions and Stipulations.

§. LIMITATION OF LIABILITY.

fa} IF the Company establishes the title, or remaves the alleged defect, lien or encumbrance, ac cures
the Jack of a right of access to or from dhe land, or cures the claim of unmarketabilily of title, or
otherwise establishca the licn of the insured mortgage, all ax insured, in a reasonably diligent manner
by any method, including litigation and the completion of any appeals therefrom, it shall have fully
Performed its obligations with respect to thal matter and shall not be liable for any loss of damage
caused thereby,

(b) In whe event of any litigation. including litigation by the Company or with the Company's
consem, the Company shall have no liability for loss or dumage until there has been a Final
determination by a court of competent jurisdiction, and dispusition af all appeals therefrom, adverse to
the title or to the lien of che insured morigage, as insured.

(c} The Company shall not b¢ liable for loss or damage to any insured for liabilny voluntarily
assumed by the insured in setiling any claim of suit without the priay written canscnt of the Company.

{d) The Company shall not be liable for : (i) any indebtedness created subsequent 10 Dale of Palicy
except for advances made wo protect the lien of the insured mortgage and secured thereby and
reasonable amounts expended to prevent deterioration of improvements: or (ii) construction loan
advances made subsequent to Date of Policy. except construction loan advances made subsequent to
Date of Policy for the purpose of financing in whole or in part the construction of an improvement to
the Sand which at Date of Policy were secured by the insuted mortgage and which the insured was and
continued to be obligated to advance al and after Date of Policy.

9, REDUCTION GF INSURANCE; REDUCTION OR

TERMINATION OF LIABILITY.

(a) All payments undee this policy. except payments made for cosis, allormneys” fees and expenses,
shall reduce (he amount of the insurance pra tanto. However, aby payments made prior to the
acquisition of utle to the cslale or interest as provided in Section 2(a) of these Conditions and
Stipulations shat} not reduce pro tanto the amount of the insurance gJTorded under this policy except
to the extent that the payments reduce the of the indebled: sttured by the insured
mortgage.

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ALTA Loan Policy (10-17-92)
Cover Page

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ORIGINAS

(Continued)

(>) Payment in part by any person of the principal of the indebtedness, or any other obligation
secured by the insured morigage, or any voluntary partial satisfaction or release of the insured
mortgage, LO the extent of the payment, salisfaclion or release, shall reduce the amount of insurance
pro tanto. The amount of insurance may thereafter be increased by accruing interest and advances
made lo protect the lien of the insured morigage and secured therby, with interest thereon, provided in
no event shalt the amount of insutance be greater than the Amount of Insurance slated in Schedule A.

{c) Payment in (ull by any person or the voluntary satisfaction or release of the insured morgage
shall terminate all liability of the Company except as provided in Section 2(a) of these Conditions and
Stipulations.

10. LIABILITY NONCUMULATIVE.

IF the insured acquices title to the estate of interest in satisfaction of the indebledness secured by the
insured mortgage, or any part thereof, it is expressly pnderstood that (he amount of insurance under
Ibis policy shall be reduced by any amoum the Company ret pay under any policy insuring a
mortgage to which exception is taken in Schedule B or to which the insured has agrem!, assumed.
or taken subject, or which is hercafler executed by an insured and which is a chaege of lien on the
cstate or interest described or referred to in Schedule A, and rhe aniount so paid shall be deemed
a payment under this policy.

11. PAYMENT OF LOSS.

fa) No payment shall by mude without producing this policy for endorsement of the payment unless
the policy has been tost ar destroyed, in which case proof of loss or destruction shall he furnished ta
the satisfaction of the Company.

{b) When liability and the extent of loss or damage has been definately fixed in accordance with
these Conditions and Stipulations, the loss or damage shall be payable within 10 days thereafter,

12. SUBROGATION UPON PAYMENT OR SETTLEMENT.

ta) The Company's Right of Subrogation,

Whenever the Company shall have settled and paid a claim under this policy, all right of
subrogation shalt vest in the Company unaffected by any act of the insured elaimant.

The Company shall he subrogated to and be entitied 10 alll rights and remedies which the insured
claimant wauld have had against any person or property in cespect to the claim had this palicy not
been issued. If requesied by the Company, the insured claimant shall transfer to the Company all
rights and remedies against any person or property necessary in order to perfect this right of
subrogation. The insured claimant shall permit the Company ta sue, compromise or settle in the fame
of the insured claimant and to use the name of the insured claimant in any transaction or fitigation
involving these nghts or remedies,

Ifa payment on account of a claim does not fully cover the loss of (he insured claimant, the
Company shall be subrograted 10 all rights and remedies of the insured clainvam after the insured
claimant shill have recovered its principal, interest, end costs of collection.

(b) The Insured’s Rights and Limisations.

Notwithstanding the foregoing. the owner of the indebtedness securet by the insured mortgage.
provided the priority of the lien of the insured mortguye er its enforceability is not alfecied, may
release of substitute the personut liability of any debtor or guarantor, or extend or otherwise modify
she terms of payment, or releuse 2 portion of the ¢stute or interest from the lien of the insured
mortgage, or release any callateral security for the indebtedness,

When the permitted acis of the insured claimant oocur and the insured has knowledge of any claim
of tile or interest adverse te the inthe (o the estate or interest ar the Prionty or enforceubility of the
lien of the insured morigage, us insured, the Company shall be required 10 pay only that part of any
losses insured against by this policy which shall ¢acced the amount, if uny , lost to the Company hy
reason of the impairment by the insured claimant of the Company's right of subrogation.

(¢) The Company's Rights Against Non-insured Obligors.

The Company's right of subrogation against non-insured obligors shull exist and shall include.
without limitation, the rights of the insured Lo indemnitics, guaranties, other policies of insurance of
bonds, notwithstanding any lerms or conditions contained im those instruments which provide for
subrogation rights by reason of this policy.

‘The Company's right of subrogation shall not be avoided by acquisition of the insured mortgugs by
an obligor (except an obligor described in Section Ia} (ji) of these Conditions and Stipulations) wha
acquires the insured mortguge as a result of an indemnity, Buaranter, other policy of insurance, or
bond and the obligor witl not be an insured under this policy, notwithstanding Section I{aXi} of these
Conditions and Stiputatians,

13. ARBITRATION.

Unless prohibited by applicable law, either the Company or the insured May demand arbitration
pursuant to the Title Insurance Arbitration Rules of the American Arbitration Assucialion, Arbitrable
Matters may include, but arc not limited io, any controversy or claim hetween the Company and the
insured arising out of ar relating to this policy, any service af the Compuny in connection with its iss-
vance or the breach of a policy provision ar other obligation, All arbitrable matters when the Amaunt
of Insusance |x $1,000,000 or lexs shall be arbitrated at the option of either the Company or the insu-
red. All arbitrable matiers when the Amount of Insurance is in excess of $(,000,000 shall be arbitrated
onty when agreed to by both the Company and the insured. Arbitration pursuant to this policy and
under the Rules in effect on the date the demand for arbitration is made ar, at the option of the insu
ted, the Rules in effect at Dute of Policy shall be binding upan the parties. The award may include at-
torneys’ fees only if the laws of the statc in which the land is localed permit a court te award ator
neys” (ees 10 a prevailing party. Judgment upon the award rendered by the Arbitrsior(s) may be ynte-
red in any court having jurisdiction thereof,

‘The Isw of the situs of the tand shall apply to yn arbulration under phe Title Insurance Arbitration
Rules.

A copy of the Rules may be obtained from the Company upon request.

14. LIABILITY LIMITED TO THIS POLICY: POLICY ENTIRE CONTRACT.

(a) This policy (ogether wath alt endorsements. if any. attached hereto by (he Company is the entire
Policy and contract between the insured and the Company In interpreting any provision of this pilicy,
this policy shall be construed as a whole.

ib) Any claim of loss or damage, whether or not on based on negligence, and which arises oul af the
status of the lien of the insured mortgage oe of the Litle to {he estate or interest eovered hereby ar by
any action assecting qweh cluim, shall be restricted 10 this policy.

(c} No amendment of o¢ endorsement to this policy can be made eacept by a writing endorsed
hereon or attached hereto signed by either the President, a Vice President. the Secretary. an Assistant
Secretary, or 4 validating officer or authorized signatory of the Company.

15. SEVERABILITY.

In the event any provision of this policy is held invalid of u under applicable law, the
policy shall he deemed mot to inelude that provision and all other provisions shall remain in full force
and effect,

16, NOTICES, WHERE SENT,

AD notices required to be given the Company and any statement in writing required to be
fumished the Company shall include the number of this policy and shall be addressed to
INDUSTRIAL VALLEY TITLE INSURANCE COMPANY, Eight Penn Center, Philadeiphia,
Peansylvania 19103-2193.

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Valid Only If Face Page and Schedules A and B Are Attached
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ISSUED BY LOAN POLICY OF TITLE IN

(vi) Industrial Valley Title POLICY NUMBER
Insurance Company 558-033174

SUBJECT TO THE EXCLUSIONS FROM COVERAGE, THE EXCEPTIONS FROM COVERAGE CONTAINED IN SCHEDULE B AND
THE CONDITIONS AND STIPULATIONS, INDUSTRIAL VALLEY TITLE INSURANCE COMPANY, a Pennsylvania corporation, herein
called the Company, insures, as of Date of Policy shown in Schedule A, against loss or damage, not exceeding the Amount of Insurance stated
in Schedule A, sustained or incurred by the insured by reason of:

1, Title to the estate or interest described in Schedule A being vested other than as stated therein;

. Any defect in or lien or encumbrance on the title; / 7 74 4

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3. Unmarketability of the title:
4. Lack of a right of access to and from the land; O
Bf yf
5. The invalidity or unenforceability of the lien of the insured Mortgage upon the title; 22 / {Z r f? ie Kb
6. The priority of any lien or encumbrance over the lien of the insured mortgage; -_ ME
7. Lack of priority of the lien of the insured mortgage over any Statutory Hen for services, labor or material: ~~”
(a) arising from an improvement or work related to the land which is contracted for or commenced prior to Date of Policy; or (b) arising
from an improvement or work related to the land which is contracted for or commenced subsequent to Date of Policy and which is financed
in whole or in part by proceeds of the indebtedness secured by the insured mortgage which at Date of Policy the insured has advanced or
is obligated to advance;
8. The invalidity or unenforceability of any assignment of the insured mortgage, provided the assignment is shown in Schedule A, or the failure
of the assignment shown in Schedule A to vest title to the insured mortgage in the named insured assignee free and clear of all liens.
The Company will also pay the costs, attorneys’ fees and expenses incurred in defense of the title or the lien of the insured mortgage, as insured,
but only to the extent provided in the Conditions and Stipulations.

IN WITNESS WHEREOF, INDUSTRIAL VALLEY TITLE INSURANCE COMPANY has caused its corporate name and seal to be hereunto
affixed by its duly authorized officers, the Policy to become valid when countersigned by an authorized officer or agent of the Company.

INDUSTRIAL VALLEY TITLE INSURANCE COMPANY

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Attest: p Z, p e3i* 1963 “ik! By:
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“8, Pes crete 5 i
Secretary Oy wes President

EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy and the Company will nat pay loss or damage, costs, attorneys’

fees or expenses which arise by reason of:

1. (a) Any law, ordinance or governmental regulation {including but not limited to building and zoning laws, ordinances, or regulations) re-
stricting, regulating, prohibiting or relating te {i} the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location
of any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land
or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances
or governmental regulations, except lo the extent that a notice af the enforcement thereof or a notice of a defect, lien or encumbrance result-
ing from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy. (b) Any governmental
police power not excluded by (a) above, except (o the extent thal a notice of the exercise thereof or a notice of a defect, lien or encumbrance
resulting from a viclation or alleged violation affecting the land has been recorded in the public records at Date of Policy.

2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding
from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without
knowledge.

3. Defects, liens, encumbrances, adverse claims or other matters: (a) created, suffered, assumed or agreed to by the insured claimant; (b) not
known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
lo the Company by the insured claimant prior to the date the insured claimant became an insured under this policy; (c) resulting in no loss
or damage to the insured claimant; (d) atlaching or created subsequent to Date of Policy (except to the extent that this policy insures the
priority of the lien of the insured mortgage aver any statutory lien for services, labor or material}; or (e} resulting in lass or damage which
would not have been sustained if the insured claimant had paid value for the insured mortgage.

4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability
or failure of any subsequent owner of the indebtedness, to comply with applicable doing business laws of the state in which the land is situated.

3. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises oul of the transaction evidenced by the
insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.

6. Any statutory lien for services, labor or maicrials (or the claim of priority of any statutory lien for services, tabor or materials over the
lien of the insured mortgage} arising from an improvement or work related to the land whieh is contracted for and commenced subsequent
io Date of Policy and is not financed in whale or in part by proceeds of the indebtedness secured by the insured mortgage which at Date
of Policy the insured has advanced or is obligated to advance.

7. Any claim, which arises out of the transaction creating the interest of the mortgagee insured by this policy, by reason of the operation of
federal bankniptey, state insolvency, or similar creditors’ rights laws, that is based on:

(a) the transaction creating the interest of the insured mortgagee being deerned a fraudulent conveyance or fraudulent transfer; or
(b) the subordination ofthe interest of the insured mortgagee as a result of the application of the doctrine of equitable subordination; or
(c) the transaction creating the interest of the insured mortgagee being deemed a preferential transfer except where the preferential transfer
results from the failure:
(i) to timely record the instrument of transfer; or
(ii) of such recordation to impart nolice 10 a purchaser for value or a judgment or lien creditor.
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ALTA Loan Policy (10-17-92)
Form 1191-8 Face Page nn

Valid Only If Schedules A and B and Cover Are Attached

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CONDITIONS AND STIPULATIONS

1. DEFINITION OF TERMS.
The following terms when used in this policy mean:

(a) “insured”; the insured named in Schedule A. The term “insured” also
includes

(i) the owner of the indebtedness secured by the insured mortgage and
each successor in ownership of the indebtedness except a successor who is an
obligor under the provisions of Section [2{c) of these Conditions and
Stipulations (reserving, however, all rights and defenses as to any successor
that the Company would have had against any predecessor insured, unless
the successor acquired the indebtedness as a purchaser for value without
knowledge of the asserted defect, lien, encumbrance, adverse claim or other
matter insured against by this policy as affecting title to the estale or interest
in the land);

(ii) any governmental agency or governmental inslrumentality which is
an insurer or guarantor under an insurance contract or guaranty insuring or
guarantecing the indebtedness secured by the insured mortgage, or any part
thereof, whether named as an insured herein or not:

(iii) the parties designated in Section 2(a) of these Conditions and
Stipulations,

(b} “insured claimant’: an insured claiming loss or damage.

(c) “knowledge” or ‘known’: actual knowledge, not constructive
knowledge or notice which may be imputed to an insured by reason of the
public records as defined in this policy or any other records which impart
constructive notice of matters affecting the land.

(d) “land": the land described or referred to in Schedule A, and
improvements affixed therelo which by law constitute real property. The
term “land” does not include any property beyond the lines of the area
described or referred to in Schedule A, nor any might, title, interesi, estate or
easement in abutting streets, roads, avenues, alleys, lanes, ways or waterways,
but rothing herein shall modify or limit the extent 10 which a right of access
to and from the land is insured by this policy.

{ce} “mortgage”: mortgage, deed of trust. trust deed, or other security
instrument.

(f) “public records": records established under state statutes at Date of
Policy for the purpose of imparting constructive notice of matters relating lo
teal property to purchasers for value and without knowledge. With respect to
Section | (a) (iv) of the Exclusions From Coverage, “public records” shall
also include environmental protection liens filed in the records of the clerk of
the United States district court fer the district in which the land is located.

(g) “unmarketability of the title: an alleged or apparent matter affecting
the title to the land, not excluded or excepted from coverage, which would
entitle a purchaser of the estate or interest described in Schedule A or the
insured mortgage lo be released from the obligation to purchase by virtue of
a contractual condition requiring the delivery of marketable title.

2. CONTINUATION OF INSURANCE.

{a) After Acquisition of Title. The coverage of this policy shall continue in
force as of Date of Policy in favor of (i) an insured who acquires all or any
part of the estate or interest in the land by foreclosure, trustee's sale,
conveyance in lieu of foreclosure, or other legal manner which discharges ihe
lien of the insured mortgage; (ii) a transferee of the estate or interest 50
acquired from an insured corporation, provided the transferce is the parent
or wholly-owned subsidiary of the insured corporation, and their corporate
successors by operation of law and not by purchase, subject to any rights or
defenses the Company may have against any predecessor insureds; and (iii)
any governmental agency or governmental instrumentality which acquires all
or any part of the eslale or interest pursuant to a contract of insurance or
guaranty insuring or guarantecing the indebledness secured by the insured
mortgage.

(b} After Conveyance of Title. The coverage of this policy shall continue in
force as of Date of Policy in favor of an insured only so Jong as the insured
retains an estate or interest in the land, or holds an indebtedness secured by
a purchase money mortgage given by a purchaser from the insured, or only
so long as the insured shall have tiabilily by reason of covenants of warranty
tmade by the insured in any transfer or conveyance of the estate or interest.
This policy shall not continue in force in favor of any purchaser from ihe
insured of either (i) an estate or interest in the land. or ii) an indebtedness
secured by a purchase money mortgage given to the insured.

(c) Amount of Insurance: The amount of insurance after the acquisition or
after the conveyance shall in neither event exceed the least of:

(i} the Amount of Insurance stated in Schedule A:

(ii) the amount of the principal of the indebtedness secured by the
insured mortgage as of Date of Policy, interest thereon, expenses of
foreclosure, amounts advanced pursuant to the insured mortgage to assure
compliance with laws or to protect the lien of the insured Morlgage prior to
the time of acquisition of the estate or interest in the land and secured
thereby and reasonable amounts expended to prevent deterioration of
improvements, but reduced by the amount of all payments made: or

(iii) the amount paid by any governmental agency or governmental
instrumentality, if the agency ot instrumentality is the insered claimant, in
the acquisition of the estate or interest in satisfaction of its insurance
contract of guaranty.

4. NOTICE OF CLAIM TO BE GIVEN BY INSURED CLAIMANT.

The insured shall notify the Company promptly in writing (i) in case of
any litigation as set forth in Section 4{a) below, (ii} in case knowledge shall
come to an insured hereunder of any claim of title or interest which is
adverse to the title to the estate or interest or the lien of the insured
mortgage, as insured, and which might cause loss or damage for which the
Company may be liable by virtue of this policy, or (iii) if ttle to the estate or
interest of the lien of the insured mortgage, as insured, is rejected as
uniiarketable. If prompt notice shall not be given to the Company, then as
to the insured all liability of the Company shall terminate with regard to the
Matter or matters for which prompt notice is required: provided, however.
that failure 10 notify the Company shall in no case prejudice the rights of
any insured under this policy unless the Company shall be prejudiced by the
failure and then only to the extent of the prejudice.

4. DEFENSE AND PROSECUTION OF ACTIONS; DUTY OF INSURED
CLAIMANT TO COOPERATE.

(a) Upon wrilten request by the insured and subject 1o the options
contained in Section 6 of these Conditions and Stipulations, the Company, al
its Own cost and without unreasonable delay, shalt provide for the defense of
an insured in litigation in which any third party asserts a claim adverse tu
the ttle of interest as insured, but only as (o those slated causes of action
alleging a defect, lien or encumbrance or other matter insured against by this
policy. The Company shall have the right to select counsel of its choice
{subject to the right of the insured 10 object for reasonable cause) to
represent the insured as to those stated causes of action and shall not be
liable for and will not pay the fees of any other counsel. The Company will
not pay any fees, costs or expenses incurred by the insured in the defense of
those causes of action which allege matters not insured against by this policy,

(b) The Company shall have the righl, al its own cost, to instilute and
prosecute any action of proceeding or to do any other act which in its
opinion may be necessary or desirable 10 establish the title to the eslate or
interest or the lien of the insured mortgage, as insured, or 1a prevent or
reduce loss or damage to the insured. The Company may take any
appropriate action under the lerms of this policy, whether or not it shall be
liable hereunder, and shall not thereby concede liability or waive any
provision of this policy. If the Company shall exercise its rights under this
paragraph, it shall do so diligently.

{c) Whenever the Company shall have brought an action or inlerposed a
defense as required or permitted by the provisions of this policy, the
Company may pursue any litigation to final determinalion by a court of
competent jurisdiction and expressly reserves the right, in ils sole diserction
to appeal from any adverse judgement or order.

{d) In all cases where this policy permits or requires the Company to
Prosecute or provide for the defense of any action or proceeding, the insured
shalt secure to the Company the right to so prosecute or provide defense in
the action or proceeding, and all appeals therein, and permit the Company to
use, al its option, the name of the insured for this purpose. Whenever
tequested by the Company, the insured, at the Company's expense, shall give
the Company all reasonable aid (i) in any aclion or proceeding, securing
evidence, obtaining witnesses, proseculing or defending the action or
proceeding, or effecting settlement, and Gi) in any olher lawful act whieh in
the upinion of the Company may be necessary or desirable to establish the
title to the estate or interest or the Hen of the insured morlgage. as insured.
If the Company is prejudiced by the failure of the insured to furnish the’
required cooperation, the Company's obligations to the insured under the
policy shall terminate, including any liability or obligation to defend,
prosecute, or continue any litigation, with regard 1o the matter or matters
requiring such cooperation.

Conditions and Stipulations Coatinued Inside Cover

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